    Case: 1:13-cr-00617 Document #: 161 Filed: 08/09/16 Page 1 of 3 PageID #:757




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )       No.   13 CR 617-2
                 v.                           )
                                              )       Judge Thomas M. Durkin
MARVIN BAUSLEY                                )

                      MOTION OF THE UNITED STATES FOR ENTRY OF
                             FINAL ORDER OF FORFEITURE

        The UNITED STATES OF AMERICA, through ZACHARY T. FARDON, United States

Attorney for the Northern District of Illinois, moves for entry of a final order of forfeiture as to

specific property pursuant to the provisions of Title 21, United States Code, Section 853, Title

18, United States Code, Section 982, and Fed. R. Crim. P. 32.2, and in support thereof submits

the following:

        1.       On September 25, 2013, an indictment was returned charging defendant MARVIN

BAUSLEY with violations of the Controlled Substances Act pursuant to the provisions of 21

U.S.C. ' 846, among other violations.

        2.       The indictment sought forfeiture to the United States of certain property pursuant

to the provisions of 21 U.S.C. ' 853(a)(1) and (2) and 18 U.S.C. § 982(a)(1).

        3.       On September 23, 2014, pursuant to Fed. R. Crim. P. 11, defendant MARVIN

BAUSLEY entered a guilty plea to Counts One, Nine and Ten of the indictment charging him with

violations of 21 U.S.C. ' 846, 18 U.S.C. ' 922(g) and 18 U.S.C. ' 1957.

        4.       In the plea agreement entered between the defendant and the United States,

defendant MARVIN BAUSLEY agreed that the following property is subject to forfeiture

pursuant to the provisions of 21 U.S.C. § 853 and 18 U.S.C. § 982. The property subject to

forfeiture includes but is not limited to:
    Case: 1:13-cr-00617 Document #: 161 Filed: 08/09/16 Page 2 of 3 PageID #:758




               (a)      the real property commonly known as 9247 S. Indiana, Chicago, Illinois and

legally described as:

       LOT 77 IN RICHARD G. COLEMAN AND COMPANY’S RESUBDIVISION OF PART
       OF BLOCKS 3, 8 AND 10 IN FAIRMOUNT AND THE EAST ½ OF THE SOUTHWEST
       ¼ AND THE NORTHWEST ¼ OF THE SOUTHEAST ¼ SOUTH OF CHICAGO ROCK
       ISLAND AND PACIFIC RAILROAD IN SECTION 3, TOWNSHIP 37 NORTH,
       RANGE 14, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY,
       ILLINOIS.

       Permanent Real Estate Index Number: 25-03-310-015; and

               (b)      the real property commonly known as 14749 S. Clifton Park Ave.,

Midlothian, Illinois and legally described as:

       LOT 22 (EXCEPT THE NORTH 11 FEET THEREOF) AND ALL OF LOT 23, IN
       BLOCK 1, TOGETHER WITH THE WEST ½ OF THE VACATED ALLEY LYING
       EAST AND ADJOINING IN MARKHAM MIDLOATHINAN ADDITION, BEING A
       SUBDIVISION OF PART OF THE NORTHWEST 1/4 (EXCEPT THE WEST 5 ACRES
       OF THE NORTH ½ THEREOF) OF THE SOUTHEAST ¼ AND THE WEST ½ OF THE
       SOUTHWEST ¼ OF THE SOUTHEST ¼ OF SECTION 11, TOWNSHIP 36 NORTH,
       RANGE 13, EAST OF THE THIRD PRINCIPAL MERIDIAN IN COOK COUNTY,
       ILLINOIS.

       Permanent Real Estate Index Number: 28-11-401-046.

       5.      On October 22, 2015, this Court entered a preliminary order of forfeiture forfeiting

any interest defendant MARVIN BAUSLEY had in the foregoing real properties for disposition

according to law.

       6.      Pursuant to the provisions of 21 U.S.C. ' 853(n)(1), beginning on November 6,

2015 and continuing for at least 30 consecutive days, notice of the criminal forfeiture for the

foregoing real properties was posted on an official government internet site.      A copy of the

certificate of publication is attached as Exhibit A.

       7.      The preliminary order of forfeiture was served pursuant to the district court=s ECF

system as to ECF filers.     Additionally, Cook County Treasurer’s Office, Newline Financial,

                                                  2
     Case: 1:13-cr-00617 Document #: 161 Filed: 08/09/16 Page 3 of 3 PageID #:759




LLC, Mtag as Cust for Caz Creek Illinois, LLC and Asa Patterson were served with a copy of the

preliminary order of forfeiture and the notice of forfeiture. A copy of the executed process receipt

and return forms are attached as Exhibit B.    Pursuant to the provisions of 21 U.S.C. ' 853(n)(1),

no other parties are known to have an interest in the foregoing properties and accordingly, no

other parties were served with a copy of the notice of forfeiture and the preliminary order of

forfeiture.

        8.     WHEREFORE, pursuant to the provisions of 21 U.S.C. ' 853, 18 U.S.C. § 982,

and Fed. R. Crim. P. 32.2, the United States requests that this Court enter a final order of

forfeiture as to the foregoing real properties in accordance with the draft final order of forfeiture

which is submitted herewith.

                                              Respectfully submitted,

                                              ZACHARY T. FARDON
                                              United States Attorney


                                              By: s/Steven Block
                                                   STEVEN BLOCK
                                                   Assistant United States Attorney
                                                   219 South Dearborn Street
                                                   Chicago, Illinois 60604
                                                   (312) 353-5300




                                                 3
